     Case 2:23-cv-01369-DJP-MBN Document 28-9 Filed 06/17/24 Page 1 of 8




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


 ST. CHARLES PARISH, A POLITICAL
 SUBDIVISION OF THE STATE OF
 LOUISIANA, AND MATTHEW JEWELL,
 IN HIS OFFICIAL CAPACITY AS ST.
 CHARLES PARISH PRESIDENT,
                                                  Civil Action No. 2:23-cv-01369
                   Plaintiffs,
                                                  Section P
        v.
                                                  Judge Papillion
 FEDERAL EMERGENCY MANAGEMENT
 AGENCY,                                          Magistrate Judge North

                   Defendant.



                       DECLARATION OF ROGER GRENIER, PhD

       I, Roger Grenier, do hereby declare and state as follows:

       1.     I am Senior Vice President and lead the Global Resilience Practice of Verisk

Extreme Event Solutions (“VEES”), formerly known as AIR Worldwide, a subsidiary of Verisk

Analytics, Inc. (“Verisk”). VEES and Verisk are Delaware corporations. VEES is headquartered

in Boston. Verisk is headquartered in Jersey City. VEES has subsidiaries or branch offices in the

UK, Germany, India, Singapore, China, and Japan. Among my responsibilities in leading the

Global Resilience Practice is overseeing our engagement with government entities, including

FEMA.

       2.     Verisk is a leading data, analytics, and technology provider serving the insurance

industry, corporations, governments, and non-governmental organizations. Verisk develops
     Case 2:23-cv-01369-DJP-MBN Document 28-9 Filed 06/17/24 Page 2 of 8




advanced technologies, builds unique data assets, and leverages deep insurance industry

knowledge to build valuable solutions for our clients.

       3.      VEES pioneered the field of probabilistic catastrophe modeling used by insurers,

reinsurers, intermediaries, financial institutions, governments, and others to manage their risk from

extreme events. Our models, which form the basis of our solutions, enable companies to identify,

quantify, and plan for the financial consequences of catastrophes.

       4.      VEES has developed models for more than 120 countries, including models for

floods, hurricanes, earthquakes, winter storms, tornadoes, hailstorms, wildfires, terrorism, and

pandemics. We also help our clients to plan for and manage climate and weather-related risk, and

serve our customers by providing advanced research, development, and analysis delivered through

software platforms available through a subscription license.

       5.      FEMA licenses VEES software and models for United States Tropical Cyclone,

Inland Flood and Tsunami (collectively, the “VEES flood model”) which produce a combined

estimate of flood risk from precipitation, storm surge, and earthquake-induced waves.

       6.      I am familiar with the Freedom of Information Act (“FOIA”) request and the

Complaint filed by Plaintiffs St. Charles Parish and parish president Matthew Jewell seeking

disclosure of records sought through FOIA.

       7.      The statements contained in this declaration are based upon my personal

knowledge, information provided to me in my official capacity, and conclusions I reached based

on that knowledge or information.




                                                 2
      Case 2:23-cv-01369-DJP-MBN Document 28-9 Filed 06/17/24 Page 3 of 8




                                Verisk’s Data in FEMA’s Records

           8.    Risk Rating 2.0 is FEMA’s actuarial update to the National Flood Insurance

Program’s pricing methodology.

           9.    I am familiar with Plaintiffs’ FOIA request seeking “all data including but not

limited to modeling data used to calculate NFIP flood insurance premiums in St. Charles Parish,

Louisiana, in Risk Rating 2.0”. Plaintiff is requesting the risk model used to assign flood insurance

premiums to St. Charles Parish residents.

           10.   It is my understanding that FEMA used its own flood insurance policyholder data

as input for the VEES flood model (“input data”), selected the model analysis options, ran the

model, and generated flood loss estimates. I also understand that FEMA and its actuarial

consultant, Milliman, Inc. (“Milliman”), utilized the results of the VEES flood model, along with

other model results and data, in developing Risk Rating 2.0. VEES had no role in preparing the

input data, running the models, or extracting, analyzing, and utilizing the VEES flood model

results.

                     Withholding of Confidential Commercial Information

           11.   I understand that at our request FEMA withheld VEES confidential commercial

information related to modeling factors under FOIA Exemptions 4. By “modeling factors,” I mean

Verisk model results, which include estimated losses from thousands of simulated floods.

           12.   The Verisk simulated floods are incorporated within our licensed software platform

and include both probabilistic and historical events. The probabilistic events are realistic

simulations of events that could occur in any year. The historical events are recreated simulations

of actual historical events.



                                                 3
     Case 2:23-cv-01369-DJP-MBN Document 28-9 Filed 06/17/24 Page 4 of 8




       13.     For each flood in the catalog, our flood model simulates the “footprint” of water

depth across the affected area, calculates the depth of water at individual building locations,

determines the degree of damage for each building type, and applies insurance policy terms to

estimate the loss.

       14.     When licensees like FEMA input their flood insurance policyholder data and run

our flood model, the software produces estimates of the annual expected losses. These loss

estimates are derived directly from our model and represent our proprietary data. They are a core

part of our catastrophe modeling commercial offering; our licensees are paying for the ability to

have our model generate these loss estimates. And the loss estimates reflect the core underlying

assumptions and proprietary aspects of our model; they hinge on our model’s unique view of flood

hazard and vulnerability.

       15.     We were notified via email from Nancy Watkins of Milliman on June 26, 2023,

that FEMA received a FOIA request from Adams and Reese, LLP, on behalf of the president of

St. Charles Parish regarding Milliman’s work on Risk Rating 2.0.

       16.     Milliman provided us with a copy of a letter from FEMA to Milliman dated June

21, 2023, which cited the FOIA request and noted that the requestor was seeking records on the

Risk Rating 2.0 methodology including modeling and algorithm data. The FEMA letter to

Milliman noted that the requested data might contain confidential commercial information

protected from disclosure under Exemption 4. The letter inquired about Milliman’s perspective on

the necessity to protect this information and in particular on whether Milliman customarily kept

the data at issue private and provided it to FEMA with assurance of confidentiality.

       17.     In their follow-on June 26, 2023, letter to VEES, Milliman noted they were

preparing a list of data included in the work products that Milliman had provided to FEMA that

                                                4
     Case 2:23-cv-01369-DJP-MBN Document 28-9 Filed 06/17/24 Page 5 of 8




Milliman believed to be confidential, which included our modeling results. Milliman invited us to

comment on the list.

       18.     We responded via email and letter to Milliman on June 27, 2023, outlining our

position. We objected to the release of modeling factors or algorithms derived from our model

results, noting that our models are confidential and constitute our closely held trade secrets, are

not in the public domain, and are not generally known. We noted that we license models to clients,

like FEMA, only under license agreements with strict confidentiality requirements and with

limitations on disclosure of the model output.

       19.     Our response to Milliman also noted that we develop, update, and enhance our

proprietary loss models at great expense and that we derive substantial economic value from them.

We noted that we are careful to label them and the user documentation prominently as confidential.

       20.     Our response to Milliman included an excerpt of FEMA’s model contract with

Verisk, which notes that “Disclosure of output and the user manuals and guides outside of FEMA

is prohibited.” We also noted that we asked FEMA to confirm the confidentiality and

nondisclosure aspects of our license and that FEMA’s contracting officer did so by email on

September 28, 2017. We followed up with another email to Milliman on July 6, 2023, to inquire

whether Milliman required any additional information from us. Nancy Watkins from Milliman

replied later that day and stated that our response was included in the information provided to

FEMA.

       21.     We are aware that FEMA specifically withheld modeling factors developed from

our model results in their response to the FOIA request.

       22.     We develop, update, and enhance our proprietary loss models at great expense. Our

company was built on and continues to have at its foundation the revenue we derive from licensing

                                                 5
     Case 2:23-cv-01369-DJP-MBN Document 28-9 Filed 06/17/24 Page 6 of 8




subscription-based software, which includes our models, to our clients. A significant portion of

our annual revenue is derived from these licenses.

       23.     We keep our modeling factors, the models themselves, and our user documentation

private. We do not publicly release the information. We protect the information from disclosure

across our contracts and business activities by specific contract language restricting or limiting

access to the data internally and externally; marking the information as confidential; using

confidentiality agreements or NDAs where appropriate; implementing policies to guide employees

and external parties in reporting data breaches; establishing password protections governing access

to our software platforms; housing the model data in secure network databases; prohibiting data

release by third parties unless approved in the license for specific data for specific purposes or

with our prior written consent; and generally requiring confidentiality in order to protect our trade

secrets and the investment we’ve made in our models.

       24.     I believe that the methods through which we protect our intellectual property and

data are standard across the modeling industry including but not limited to our competitors and

business partners, and are aligned to the strict protections our clients use for their own proprietary

and private customer data.

       25.     We take these steps to keep our proprietary information confidential because we

invest considerable financial and human capital resources to develop, maintain and improve our

innovative models. Our investments contribute significantly to the understanding of risk, to the

benefit of many stakeholders. These investments only make business sense if we have protections

to ensure that our intellectual property will not be exposed to unauthorized parties and/or

impermissibly exploited by other organizations, around the country, and around the world.



                                                  6
     Case 2:23-cv-01369-DJP-MBN Document 28-9 Filed 06/17/24 Page 7 of 8




       26.     Examples of ways in which our models could be exploited include enabling

competitors to develop or substantially improve their own models using Verisk’s intellectual

property and enabling insurers to develop insurance rating plans without licensing the models,

effectively creating a situation where insurers who are paying for lawful access are subsidizing

their competitors. The loss estimates from our model, coupled alongside the FEMA input

policyholder data, is a specific example of how our confidential modeling information could be

exploited.

       27.     Guarding against public disclosure also serves the public interest by enabling

innovation and availability of robust models to support a healthy insurance market, leading to

stable commercial and homeowner markets generally. Sophisticated models are an improvement

over historical methods for determining risk, and models continue to improve, fostered by

competition. If model developers cannot protect their investment, future models may be less

granular and predictive of risk, potentially limiting the availability of sophisticated tools that can

help encourage a healthy insurance market and maintain availability of insurance coverage.

       28.     We provided our flood model to FEMA on the expectation that it and the associated

modeling factors would be kept private, and we received assurances from FEMA as part of its

work on Risk Rating 2.0 that the information would be protected from disclosure. In particular, as

cited previously, FEMA’s model contract with VEES notes that “Disclosure of output and the user

manuals and guides outside of FEMA is prohibited.” FEMA specifically agreed to the

confidentiality and nondisclosure aspects of the contact in an email from FEMA’s contracting

officer on September 28, 2017.

       29.     If FEMA is unable to maintain the confidentiality of our catastrophe modeling

information, we will likely be unwilling to license our catastrophe modeling products to the

                                                  7
     Case 2:23-cv-01369-DJP-MBN Document 28-9 Filed 06/17/24 Page 8 of 8




government in the future in a similar fashion. As discussed, public disclosure of our proprietary

catastrophe modeling information poses great financial risk to us.

       I declare, under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct to the best of my knowledge.


Executed on this 13th day of June 2024.




_____________________________
Roger Grenier
Senior VP, Verisk Extreme Event Solutions




                                                 8
